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                                                November 23, 2022

Catherine O'Hagan Wolfe, Clerk of Court
U.S. Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square, New York, NY 10007

RE: We The Patriots USA, Inc. v. Connecticut Office of Early Ch., No. 22-
    0249-cv, Defendants’-Appellees’ Supplemental Brief

Dear Clerk of Court O’Hagan Wolfe:

        In accordance with the Court’s Order, see Entry No. 98, the State

Defendants1 submit this letter brief addressing the impact of the Court’s

decision in M.A. v. Rockland County Department of Health, 21-551-cv

(“M.A.”), on the issues in this appeal.

        As detailed below, M.A. does not control here. The emergency

declaration at issue in M.A. is highly distinguishable from the school

vaccination requirement in Conn. Gen. Stat. § 10-204a, as amended by

Public Act No. 21-6 (“P.A. 21-6”), served different purposes, and was

implemented under very different circumstances. The record in M.A. was



1TheState Defendants consist of the Connecticut Office of Early Childhood
Development, the Connecticut Department of Education, and the
Connecticut Department of Public Health.
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 Hartford, Connecticut 06106
 An Affirmative Action/Equal Opportunity Employer
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also “underdeveloped,” M.A. at 20, on the question of “substantial

underinclusiveness” in ways that the record here is not. Moreover, unlike

here, the M.A. plaintiffs had evidence that could implicate a religious

animus, that is absent here.

        Because M.A. has no bearing on this case, the District Court’s

judgment should be affirmed for all of the reasons set forth in the State

Defendants’ main brief and in the District Court’s decision.

I.      The Court’s decision in M.A.

        In 2018, there was a measles outbreak in Rockland County, New

York.    M.A., at 4.   After cases continued rising, defendant Ed Day, a

Rockland County Executive, issued a Local State of Emergency Declaration

(“Declaration”) that barred unvaccinated children from “place[s] of public

assembly,” including schools, unless they had a medical exemption to

vaccination or serological immunity.2 Id., 7-8.


2The Declaration provided: “From 12:01 a.m. March 27, 2019 to 11:59 p.m.
on April 25, 2019, no parent or guardian of a minor or infant under the age
of 18, shall cause, allow, permit, or suffer a minor or infant under their
supervision, to enter any place of public assembly in Rockland County, if
that minor or infant is not vaccinated against measles for any reason other
than being serologically immune to measles as documented by a physician,
or prevented from receiving a measles vaccination for a medical reason
documented by a physician, or because the infant is under the age of 6
months.” M.A., 7-8.
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     Day testified at his deposition that he issued the Declaration in

response to concerns about a rise in measles during the upcoming Easter

and Passover holiday seasons. Id., 8. Day later lobbied the New York

legislature to repeal New York State’s religious exemption to their school

vaccination requirements. Id., 9. Importantly, during his remarks, Day

stated that “[t]here’s no such thing as a religious exception,” and

“characterized ‘anti-vaxxers’ as ‘loud, very vocal, also very ignorant.’” Id.

     The plaintiffs challenged the legality of the Declaration, claiming that

it violated the free exercise clause (among other claims) by targeting them

based on their sincerely held religious beliefs. Id. The District Court

granted the defendants’ motion for summary judgment on all claims. Id.

As to the plaintiffs’ free exercise claim, the District Court held that the

Declaration was a neutral law of general applicability and was, therefore,

subject to rational basis review pursuant to Emp't Div. v. Smith, 494 U.S.

872 (1990) (“Smith”). Id., 10-11. The District Court determined that the

Declaration satisfied rational basis review and, in the alternative, would

have satisfied strict scrutiny even if subject to that standard. Id., 11-12.

     This Court held that the District Court erred, and reversed and

remanded for trial on the free exercise claim, and for further proceedings to

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determine whether partial summary judgment was warranted on the

plaintiffs’ remaining claims. Id., 12-13 and n.4. The Court concluded that

there were triable issues of fact as to whether the Declaration was neutral

and   generally   applicable,   and   that    these   disputes    precluded   a

determination at the summary judgment stage of the appropriate level of

scrutiny. Critically, with respect to neutrality, the Court determined that a

reasonable fact finder could have concluded that Day’s “derogatory”

statements evidenced discriminatory animus against religious practices.

      Regarding general applicability, the Court—emphasizing “the

underdeveloped record,” id., 20—determined that: (1) there was a factual

dispute as to who the Declaration applied to, i.e., only to children who were

unvaccinated for religious reasons (as the plaintiffs argued), or to children

who were unvaccinated for any reason other than medical need, including

but not limited to religious reasons (as defendants argued), id., 20-21; and

(2) there was a genuine dispute as to what governmental interest the

Declaration was intended to serve, and a jury could have concluded—

depending on which interest it found—that the Declaration was

“substantially underinclusive.” Id., 21-22.



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II.   The Court’s neutrality analysis does not control because any
      claim of religious animus is unpreserved and, as Plaintiffs
      concede, there is no evidence of religious animus in the
      legislative record.

      In concluding that there was a genuine issue of material fact

regarding whether the Declaration was neutral, the M.A. Court relied on

Day’s deposition testimony that he issued the Declaration out of concern

over a rise in measles cases during the Easter and Passover holidays, as

well as his subsequent statements that “[t]here’s no such thing as a

religious exception” and that “anti-vaxxers” were “very ignorant.” M.A., at

17. The Court concluded that these “derogatory comments” – which are

religious based – could have supported a finding that the Declaration was

motivated by religious animus. Id., at 18.

      Such rationale does not apply here. Plaintiffs’ Amended Complaint is

devoid of any such allegations of religious animus, and they did not make

any such argument below. See Appx.18 (District Court decision noting that

“Plaintiffs have not advanced an argument that P.A. 21-6 was motivated by

any religious animus”); see also Mhany Mgmt. v. Cty. of Nassau, 819 F.3d

581, 615 (2d Cir. 2016) (“[A]n appellate court will not consider an issue

raised for the first time on appeal.”). Nor is there any statement in the

legislative history of P.A. 21-6 suggesting that it was motivated by religious
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animus.3 Plaintiffs concede this in their main brief. Pl. Br., at 29 (“even if

[P.A] 21-6’s legislative history is free from expressions of animus”).

Accordingly, M.A. is not controlling on the issue of neutrality.

     B.    General applicability

     The M.A. Court concluded that two factual disputes precluded a

determination at the summary stage that the Declaration was generally

applicable. Neither applies here.

           1.    There is no factual dispute as                     to   whom
                 Connecticut’s requirement applies.

     First, the M.A. Court concluded that there was a factual dispute as to

whom the Declaration applied.          While the plaintiff argued that the

Declaration only applied to unvaccinated children whose parents objected


3 Unlike M.A., where the individual who made the remarks was the one
who issued the Declaration, P.A. 21-6 was passed not by any individual but
by the legislature as a whole. “What motivates one legislator to make a
speech about a statute is not necessarily what motivates scores of others to
enact it . . . .” United States v. O'Brien, 391 U.S. 367, 384 (1968). “[W]e
have been reluctant to attribute [the] motives [of individual legislators] to
the legislative body as a whole.” Dobbs v. Jackson Women's Health Org.,
142 S. Ct. 2228, 2256 (2022). Thus, even if Plaintiffs could identify hostile
remarks by an individual legislator—and they admit there are none—that
would not raise a triable issue regarding religious animus. E.g. Tingley v.
Ferguson, 47 F.4th 1055, 1087 (9th Cir. 2022) (rejecting argument that
allegedly hostile comments made by legislator rendered law non-neutral in
part because “[s]tray remarks of individual legislators are among the
weakest evidence of legislative intent”).
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to vaccines for religious reasons, the defendants argued that the

Declaration applied to all unvaccinated children, regardless of religion.

M.A., at 20. But because of the “underdeveloped record,” this Court could

not determine which was correct. M.A., 20-21.

     Here, there is no question as to whom § 10-204a applies. The plain

language of § 10-204a clearly and unambiguously imposes a vaccination

requirement on every child who can safely receive one, which necessarily

includes children who object to vaccines for non-religious reasons, including

ideological, moral, or other reasons. See We the Patriots USA, Inc., 17 F.4th

at 282 (addressing applicability of employment vaccination requirement).

           2.    There is no dispute here about the purpose the § 10-
                 204a was meant to serve, and even there was, it
                 would not preclude dismissal in the context of a
                 school vaccination requirement.

     In M.A., this Court reversed the District Court’s general applicability

determination pursuant to the “substantially underinclusive” doctrine. A

law is substantially underinclusive, and thus not generally applicable, if it

“prohibits religious conduct while permitting secular conduct that

undermines the government’s asserted interests in a similar way.” Fulton

v. City of Philadelphia, 141 S. Ct. 1868, 1877 (2021). In other words, a law

is substantially underinclusive if it “regulates religious conduct while
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failing to regulate secular conduct that is at least as harmful to the

legitimate government interests purportedly justifying it.” We the Patriots

USA, Inc., 17 F.4th at 284-85. “Whether two activities are comparable . . .

must be judged against the asserted government interest that justifies the

regulation at issue.” Tandon v. Newsom, 141 S. Ct. 1294, 1296 (2021).

“Comparability is concerned with the risks various activities pose.” Id.

     In M.A., there was a “dispute regarding what governmental interest

the Declaration was intended to serve,” which prevented the Court from

being able to determine whether the Declaration was substantially

underinclusive. M.A., at 21. On the one hand, the purpose could have been

to “stop the transmission of measles,” which could have led a factfinder “to

question why there was a medical exemption” and, thus, potentially

conclude that the Declaration was substantially underinclusive, since

“medically exempt children are every bit as likely to carry undetected

measles [as] a child with a religious exemption and are much more

vulnerable to the spread of the disease and serious health effects if they

contract it.” Id., at 21 (quotation marks omitted). On the other hand, the

purpose could have been to “encourage vaccination,” in which case the

Declaration “could be viewed as a reasonable method for doing so.” Id.

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     That rationale does not apply here. There is no dispute about the

governmental interest that § 10-204a serves: to protect the health and

safety of Connecticut students and the broader public. See St. Def. Br., at

38. As the District Court recognized, the legislative history repeatedly

identifies this as the governmental interest that prompted P.A. 21-6.4

Appx. 20-21 and n.10 (citing legislative debate and noting that “state

legislators identified that the purpose of this law is to protect community

health,” and that “[t]he state has an interest in protecting the health of

Connecticut’s school children”). And because the legislative history reflects

that this is the actual governmental interest, the concerns expressed in

Judge Park’s concurring opinion in M.A. about the state artificially




4That  is also how then-Judge Alito—upon whose decisions Plaintiffs rely—
framed the state’s interest in the medical exemption to the controlled
substances law upheld in Smith: in terms of protecting both individual and
public health. See Blackhawk v. Pennsylvania, 381 F.3d 202, 211 (3d Cir.
2004) (explaining that purpose of drug control law in Smith was “to protect
public health and welfare” generally, and that exempting individuals who
get a prescription from their physician was consistent with that
government interest because it “serve[s] the patient’s health and . . . the
overall public welfare”). It is also how courts, including this one, have
framed       the   state’s   interest     when       addressing      substantial
underinclusiveness challenges to vaccination requirements in the
employment context. We the Patriots USA, Inc., 17 F.4th at 285; Doe v.
Mills, 16 F.4th 20, 30-31 (1st Cir. 2021), cert. denied, 142 S. Ct. 1112 (2022).
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framing its interest in more general terms so as to defeat a substantially

underinclusive argument are not present.5

       In the District Court, Plaintiffs argued that the governmental interest

should be framed more narrowly in terms of “preventing the spread of

contagious disease.”    Appx.20 (quotation marks omitted).          The District

Court rejected that argument because it was not supported by the

legislative record. Id. Nor did Plaintiffs challenge that aspect of the District

Court’s ruling on appeal. Pl. Br., at 29-32. Notwithstanding, there is no

support for the proposition that the state’s interest in requiring childhood

vaccination to attend school is merely in “preventing the spread of


5The  State Defendants also disagree with Judge Park’s interpretation of
Phillips v. City of New York, 775 F.3d 538 (2d Cir.), cert. denied, 577 U.S.
822 (2015), in footnote 4 of his concurring opinion in M.A. New York’s
vaccination law at the time contained both religious and medical
exemptions. Therefore, by indicating that the religious exemption was not
constitutionally required, this Court recognized—if only implicitly—that a
school vaccination law permitting medical but not religious exemptions
would have been a neutral law of general applicability under
Smith. Indeed, Phillips “agree[d] with” the Fourth Circuit’s decision in
Workman v. Mingo County Bd. of Educ., 419 F.App’x 348, 353-54 (4th Cir.
2011), which upheld a school vaccination requirement that allowed
medical but not religious exemptions. Accord Smith, 494 U.S. at 888-89
(listing “compulsory vaccination laws” as example of laws that should not
receive strict scrutiny, referring to case addressing school vaccination law
that permitted medical exemptions upon submission of “a certificate
showing physical disability which might contra-indicate vaccination,” but
not religious exemptions) (citing Cude v. State, 237 Ark. 927 (1964)).
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contagious disease,” without any regard for the preservation of the general

health of students and the public, including the health of those students

whose medical contraindications preclude vaccination but also render them

more vulnerable to contagious diseases. E.g. Conn. H.R. (Apr. 19, 2019)

(remarks of Repr. Steinberg), at 792-93 (“But the bottom line is this,

parents have a right to expect that their children will be safe at school. We

are acting to assure that assumption continues to be true”).6

       Because the state’s interest in passing P.A. 21-6 is clear, this Court—

unlike in M.A.—is not precluded from conducting a substantially

underinclusive analysis. Thus, the Court must determine whether the

medical exemption (1) “undermines” the state’s interest in protecting

student and public health, and (2) whether it undermines that interest “in

a similar way” or is “at least as harmful” to it in terms of the “risks” involved

as a religious exemption would be. Fulton, 141 S. Ct. at 1877; We the

Patriots USA, Inc., 17 F.4th at 284-85.

       Applying    that   standard,     §   10-204a     is   not   substantially

underinclusive. The present case is markedly different from M.A. The


6The full legislative debate on P.A. 21-6 is available at:
extension://efaidnbmnnnibpcajpcglclefindmkaj/https://ctatatelibrarydata.o
rg/wp-content/uploads/lh-bills/2021_PA6_HB6423.pdf
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Declaration in M.A. was arguably substantially underinclusive because if

the state’s interest was stopping the spread of measles, permitting children

who were unvaccinated for medical reasons to enter public places arguably

undermined that interest.       That makes sense in that context, since

requiring children with medical exemptions to stay home would have

served the state’s interest in reducing the risk of more measles infections,

and would not have required those children to endanger their health (if

anything, it would have protected their health).

     But the situation is very different here, for three reasons. First,

requiring students with medical contraindications to become vaccinated

would undermine the state’s interest in protecting student and public

health because it would expose those students to (potentially severe)

physical harm. In fact, requiring students with medical contraindications

to vaccinate “would likely be unconstitutional itself.” Doe, 16 F.4th at 33;

see also We the Patriots USA, Inc., 17 F.4th at 285 (citing Jacobson v.

Massachusetts, 197 U.S. 11, 38-39 (1905), for proposition that “the state

may not be permitted to require vaccination of individuals with

contraindications”).



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     Second, there was no evidence in M.A. to refute that medical

exemptions undermined the state’s interest “in a similar way” as religious

exemptions would have. The opposite is true here. Plaintiffs’ Amended

Complaint included data compiled by the Connecticut Department of Public

Health over approximately ten years leading up to the passage of P.A. 21-

6.7 Appx.116-121. The data shows that in 2019-20, ten times as many

kindergarten     students    claimed    religious    exemptions     as    medical

exemptions. Appx.120. And over the past decade, the number of religious

exemptions has steadily risen, while medical exemptions have remained

largely constant. Further, because of “clustering”—a phenomenon that

does not apply to medical exemptions—the religious exemptions have

caused vaccination rates to drop especially low in certain districts, many

below 95%, and some below 90%. Id. Given these facts, there simply is no

credible argument that the medical and religious exemptions are

“comparable” in their relative risks to public health, or that they undermine

the state’s interests “in a similar way” or to “the same degree.”


7Because the data was incorporated into Plaintiffs’ Complaint as an exhibit,
it is considered part of Plaintiffs’ Complaint and must therefore be
presumed true for purposes of a Rule 12(b)(6) motion. Chambers v. Time
Warner, Inc., 282 F.3d 147, 152-53 (2d Cir. 2002); see also Fed. R. Evidence
803(8).
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     Third and finally, to the extent the Court assessed the comparability

of the risks of medical and religious exemptions in M.A. on an individual-

by-individual basis, i.e., a child with a medical exemption is “every bit as

likely” to spread measles as a child with a religious objection, M.A. at 21,

that method makes no sense in the context of school vaccination laws. In

We the Patriots USA, Inc., the Court declined to make “one-to-one

comparison[s]” but instead interpreted Supreme Court precedent as

“suggest[ing] the appropriateness of considering aggregate data about

transmission risks.” 17 F.4th at 287. Thus, the Court “doubt[ed] that, as

an epidemiological matter, the number of people seeking exemptions is

somehow excluded from the factors that the State must take into account

in assessing the relative risks” of medical and religious exemptions for

purposes of a substantial underinclusiveness analysis. Id.; accord Doe v.

San Diego Unified Sch. Dist., 19 F.4th 1173, 1178 (9th Cir. 2021), rehearing

denied, 22 F.4th 1099 (2022). And while the record in We the Patriots USA,

Inc. contained “only limited data regarding the prevalence” of each

objection—which was itself sufficient to defeat a preliminary injunction—

the data incorporated into Plaintiffs’ Amended Complaint here is far more

compelling, showing a decisive (and increasing) disparity between medical

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and religious exemptions developed from a sample size of several years

from hundreds of thousands of school students.

      Put simply, there simply is no genuine argument that the medical and

religious exemptions are “comparable” in terms of the risks they pose to the

state’s interest in protecting student and community health and safety.

Section 10-204a is not substantially underinclusive. M.A. is not to the

contrary.

                                          Very truly yours,

                                          /s/ Darren P. Cunningham
                                          Darren P. Cunningham
                                          Timothy J. Holzman
                                          Assistant Attorneys General




                          CERTIFICATION OF SERVICE

       I hereby certify that on this 23rd day of November, 2022, I caused the foregoing
to be filed electronically with the Clerk of the Court for the United States Court of
Appeals for the Second Circuit by using the appellate CM/ECF system. I certify that all
participants in the case are registered CM/ECF users and that service will be
accomplished by the appellate CM/ECF system.


                                          _/s/ Darren P. Cunningham
                                          Darren P. Cunningham
                                          Assistant Attorney General




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